         Case 1:18-cv-00378-APM Document 46 Filed 05/09/19 Page 1 of 4



                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                                     )
FATMA MAROUF, et al.,                                )
                                                     )
                      Plaintiffs,                    )
                                                     )
               v.                                    ) Case No. 1:18-cv-378 (APM)
                                                     )
ALEX AZAR, in his official capacity as               )
Secretary of the United States                       )
Department of Health and Human                       )
Services, et al.,                                    )
                                                     )
                      Defendants.                    )
                                                     )

          NOTICE AND UNOPPOSED MOTION FOR STATUS CONFERENCE

       Defendants United States Department of Health and Human Services (“HHS”);

Administration for Children and Families (“ACF”); Office of Refugee Resettlement (“ORR”);

Alex Azar, in his official capacity as Secretary of HHS; Lynn Johnson, in her official capacity as

Assistant Secretary for ACF; and Jonathan Hayes, in his official capacity as Director of ORR

(collectively the “Federal Defendants”) respectfully submit this Notice and Unopposed Motion for

Status Conference. Federal Defendants request the Court convene a status conference at its earliest

convenience for the reasons that follow. Undersigned counsel has consulted with counsel for the

other Parties concerning the request for a status conference and none oppose.

       The Government previously identified Lutheran Immigration and Refugee Service

(“LIRS”) as a potential supplemental grantee to provide long-term foster care in the

unaccompanied alien children (“UAC”) program in the Dallas-Fort Worth area of Texas (“DFW”).

LIRS informed the Government that it does not have any objection to working with same sex

couples as foster parents. LIRS is a longstanding partner of ORR in providing high quality services
         Case 1:18-cv-00378-APM Document 46 Filed 05/09/19 Page 2 of 4



under both the UAC and unaccompanied refugee minor (“URM”) programs, but it does not

currently provide long-term foster care services through sub-grantees in either program in DFW.

LIRS informed the Government of its willingness to provide services under these programs in

DFW if it could locate a licensed child-placing agency with which to partner. As of the Parties’

most recent Joint Status Report, however, it had not located such a partner. See ECF No. 44.

Following that Joint Status Report, the Court issued a Minute Order in which it “encourage[d]

Defendants to continue their efforts to work with Lutheran Immigration and Refugee Services to

find an appropriate partner child-placement agency to enable Plaintiffs to serve as foster parents.”

Minute Order, Feb. 15, 2019.

       Although Federal Defendants have not yet been able to secure any additional partnership

with LIRS, ORR has now approved the creation of an additional UAC long-term foster care

program in DFW through an alternative provider. On April 30, 2019, ORR approved a change in

scope to its existing cooperative agreement with BCFS Health and Human Services (“BCFS”),

which currently has an agreement to provide UAC long-term foster care services in California.

Under the change in scope approved by ORR, money previously approved for the provision of

services in California has been reprogrammed to a UAC long-term foster care program in DFW at

a 40-bed capacity. Federal Defendants have authorized the reprogramming of funds as of June 1,

2019. At that time, BCFS has stated that it anticipates opening with the intent to recruit staff and

foster parents, phasing in foster care beds over time.        Based on this information, Federal

Defendants estimate that this program will be fully operational in DFW by October 2019.

       Federal Defendants anticipate and understand that BCFS would not have any religious or

other objection to considering the Individual Plaintiffs as prospective foster parents based on their

same-sex marriage. Thus, Federal Defendants respectfully suggest that the availability of this
          Case 1:18-cv-00378-APM Document 46 Filed 05/09/19 Page 3 of 4



opportunity is responsive to the Court’s Minute Order. Federal Defendants request that the Court

convene a status conference at its earliest convenience to discuss the impact of this development

on this litigation.

Dated: May 9, 2019                          Respectfully submitted,

                                            JOSEPH H. HUNT
                                            Assistant Attorney General

                                            MICHELLE BENNETT
                                            Assistant Branch Director

                                            /s/ James Powers
                                            JAMES R. POWERS (TX Bar No. 24092989)
                                            Trial Attorney
                                            Federal Programs Branch
                                            U.S. Department of Justice, Civil Division
                                            1100 L Street, NW, Room 11218
                                            Washington, DC 20005
                                            Telephone: (202) 353-0543
                                            Email: james.r.powers@usdoj.gov

                                            Counsel for Federal Defendants
         Case 1:18-cv-00378-APM Document 46 Filed 05/09/19 Page 4 of 4




                               CERTIFICATE OF SERVICE

         I hereby certify that I filed the foregoing with the Clerk of the Court through the ECF
system on May 9, 2019. This system provided a copy to and effected service of this document on
all parties.

                                            /s/ James Powers
                                            JAMES R. POWERS
